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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                    Crim. No. 17-232 (EGS)
                    v.

MICHAEL T. FLYNN,

                              Defendant




                               NOTICE OF COMPLIANCE

       John Gleeson hereby notifies the Court that he has complied with its September 6, 2020

Minute Order by delivering three courtesy copies of the Reply Brief for the Court-Appointed

Amicus Curiae filed on September 11, 2020, at Docket No. 243, to this Court’s Chambers.



                                                  /s/ John Gleeson    __________
                                                  John Gleeson1
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                                                  Court-appointed Amicus Curiae




1
       On May 18, 2020, the Court ordered that I be admitted pro hac vice to appear in this
       matter, be conferred full privileges to file and receive papers through the Court’s
       CM/ECF system in this proceeding, and be excused from the local counsel requirement
       of Local Criminal Rule 44.1(c)(1). See Minute Order of May 18, 2020.
